                                                                               Motion GRANTED.



                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE


    UNITED STATES OF AMERICA                     )
                                                 )
    vs.                                          )      CASE No. 3:12-00198
                                                 )      JUDGE TRAUGER
    GREGORY LEE GREGORY                          )
    Defendant                                    )


                        MOTION TO SET PLEA HEARING

           Comes now the defendant, Gregory Lee Gregory, by and through

    counsel of record, David R. Heroux, and moves this Honorable Court to set a

    Plea Hearing in this matter. The defendant has been authorized to represent to

    the Court that the Government has no objection to this motion. In support of

    this motion the defendant has filed an Affidavit of Counsel, a Motion to

    Continue Trial, and a Speedy Trial Waiver.


                                                 Respectfully submitted,

                                                 Haymaker & Heroux, P.C.


                                                 s/ David R. Heroux
                                                 David R. Heroux,     BPR 20798
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